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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES

CONSOLIDATED LITIGATION CIVIL ACTION NO.: 05-4182

JUDGE: DUVAL

PERTAINS TO:

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* MAGISTRATE: WILKINSON
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INSURANCE: Robinson, 07-3220 *
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ORDER

Considering the foregoing Motion to Dismiss;

IT 18 ORDERED that the Motion to Dismiss be and hereby is GRANTED and
that all of the claims asserted by plaintiff Mamie Robinson and this lawsuit are dismissed, with
prejudice, each party to bear its own costs,

New Orleans, Louisiana, this day of , 2008.

UNITED STATES DISTRICT JUDGE

90277
